Order entered December 20, 2012

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                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-12-00420-CR

                           JUSTIN KRISS, Appellant

                                     V.

                        The State of Texas, Appellee

               On Appeal from the County Criminal Court No. 2
                            Dallas County, Texas
                     Trial Court Cause No. MB10-60533-B

                                    ORDER

      The Court ORDERS the trial court to conduct  a  hearing  to  determine
why appellant's brief has not been filed.  In this regard, the  trial  court
shall make appropriate findings and recommendations  and  determine  whether
appellant desires to prosecute the appeal, whether  appellant  is  indigent,
or if not indigent, whether retained counsel has abandoned the appeal.   See
Tex. R. App. P. 38.8(b).  If  the  trial  court  cannot  obtain  appellant's
presence at the hearing, the  trial  court  shall  conduct  the  hearing  in
appellant's absence.  See Meza v. State, 742 S.W.2d  708  (Tex.  App.-Corpus
Christi 1987, no pet.) (per curiam).  If appellant is  indigent,  the  trial
court is ORDERED to take  such  measures  as  may  be  necessary  to  assure
effective representation, which may include appointment of new counsel.
      We ORDER the trial court to transmit  a  record  of  the  proceedings,
which shall include written findings  and  recommendations,  to  this  Court
within THIRTY DAYS of the date of this order.
      This appeal is ABATED to allow the trial  court  to  comply  with  the
above order.  The appeal shall be reinstated thirty days from  the  date  of
this order or when the findings are received, whichever is earlier.



                                       /s/   DAVID L. BRIDGES
                                             JUSTICE

